 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-1(b)

 822641
 Phelan Hallinan Diamond & Jones, PC
 1617 JFK Boulevard, Suite 1400
 Philadelphia, PA 19103
 856-813-5500
 Attorneys for WELLS FARGO BANK, N.A.
 In Re:                                                   Case No: 18-34018 - JNP

 ANTHONY R BROOKS, JR                                     Hearing Date: 05/14/2019 @ 10:00
 SHERIE N BROOKS                                          AM

                                                          Judge: JERROLD N. POSLUSNY
                                                          JR.

                                                          Chapter: 13

                         CERTIFICATION OF SERVICE

     1.    I, Marc Schroeder:

              represent the ______________________ in the above-captioned matter.

             am the secretary/paralegal for Phelan Hallinan Diamond & Jones, PC,
           who represents WELLS FARGO BANK, N.A. in the above captioned matter.

             am the _________________ in the above case and am representing
           myself.

     2.    On April 15, 2019 I sent a copy of the following pleadings and/or documents
           to the parties listed below:

           Motion for Relief

     3.    I hereby certify under penalty of perjury that the above documents were sent
           using the mode of service indicated.


Dated: April 15, 2019                           /s/ Marc Schroeder
                                                    Marc Schroeder
 Name and Address of Party Served             Relationship of               Mode of Service
                                             Party to the Case
                                                                   Hand-delivered

                                                                   Regular mail

                                                                   Certified mail/RR
ANTHONY R BROOKS, JR
712 SHERWOOD DRIVE                  Debtor
                                                                   E-mail
WILLIAMSTOWN, NJ 08094
                                                                   Notice of Electronic Filing (NEF)

                                                                   Other__________________
                                                                 (as authorized by the court *)
                                                                   Hand-delivered

                                                                   Regular mail

                                                                   Certified mail/RR
SHERIE N BROOKS
712 SHERWOOD DRIVE                  Debtor
                                                                   E-mail
WILLIAMSTOWN, NJ 08094
                                                                   Notice of Electronic Filing (NEF)

                                                                   Other__________________
                                                                 (as authorized by the court *)
                                                                   Hand-delivered

                                                                   Regular mail

BRAD J. SADEK, Esquire                                             Certified mail/RR
1315 WALNUT STREET                  Debtor’s
STE 502                             Attorney                       E-mail
PHILADELPHIA, PA 19107
                                                                   Notice of Electronic Filing (NEF)

                                                                   Other__________________
                                                                 (as authorized by the court *)
                                                                   Hand-delivered

                                                                   Regular Mail

Isabel C. Balboa, Trustee                                          Certified mail/RR
Cherry Tree Corporate Center
                                    Trustee
535 Route 38 - Suite 580                                           E-mail
Cherry Hill, NJ 08002
                                                                   Notice of Electronic Filing (NEF)

                                                                   Other__________________
                                                                 (as authorized by the court *)
U.S. Trustee                                                       Hand-delivered
US Dept of Justice                  Trustee
Office of the US Trustee                                           Regular Mail




                                                   2
One Newark Center Ste 2100
Newark, NJ 07102                                                               Certified mail/RR

                                                                               E-mail

                                                                               Notice of Electronic Filing (NEF)

                                                                                Other__________________
                                                                             (as authorized by the court *)
      * May account for service by fax or other means as authorized by the court through the issuance of an Order
      Shortening Time.




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